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 1   WILLIAM A. ISAACSON (Pro hac vice)
     (wisaacson@bsfllp.com)
 2   STACEY K. GRIGSBY (Pro hac vice)
     (sgrigsby@bsfllp.com)
 3   NICHOLAS A. WIDNELL (Pro hac vice)
     (nwidnell@bsfllp.com)
 4   BOIES SCHILLER FLEXNER LLP
     1401 New York Avenue, NW, Washington, DC 20005
 5   Telephone: (202) 237-2727; Fax: (202) 237-6131
 6   RICHARD J. POCKER #3568
     (rpocker@bsfllp.com)
 7   BOIES SCHILLER FLEXNER LLP
     300 South Fourth Street, Suite 800, Las Vegas, NV 89101
 8   Telephone: (702) 382-7300; Fax: (702) 382-2755
 9   DONALD J. CAMPBELL #1216
     (djc@campbellandwilliams.com)
10   J. COLBY WILLIAMS #5549
     (jcw@campbellandwilliams.com)
11   CAMPBELL & WILLIAMS
     700 South 7th Street, Las Vegas, NV 89101
12   Telephone: (702) 382-5222; Fax: (702) 382-0540
13   Attorneys for Defendant Zuffa, LLC, d/b/a
     Ultimate Fighting Championship and UFC
14
     Additional counsel on signature page
15

16                               UNITED STATES DISTRICT COURT
17                                    DISTRICT OF NEVADA
18

19   Cung Le, Nathan Quarry, Jon Fitch,               Case No.: 2:15-cv-01045-RFB-(PAL)
20   Brandon Vera, Luis Javier Vazquez, and
     Kyle Kingsbury on behalf of themselves and       JOINT MOTION TO SUPPLEMENT
21   all others similarly situated,                   EXPERT REPORTS

22                 Plaintiffs,
            v.
23

24   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
25
                   Defendant.
26
27

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 1          Plaintiffs Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and
 2   Kyle Kingsbury (collectively “Plaintiffs”) and Defendant Zuffa, LLC (“Zuffa”) (together with
 3   Plaintiffs, “the Parties”) file this Joint Motion to Supplement the Expert Reports in this case. The
 4   Scheduling Order for this case contemplates three rounds of expert reports (for class and merits
 5   combined)—opening reports by Plaintiffs’ experts, opposition reports by Zuffa’s experts and
 6   rebuttal reports by Plaintiffs’ experts. ECF No. 513. Given the complex issues involved in this
 7   antitrust case, the substantial damages at issue, and the significant amount of documentary,
 8   deposition, and other party and non-party evidence that has been produced and elicited in this
 9   matter, the Parties seek to ensure, within the bounds of efficiency, fairness, and practicality, that
10   the expert record fairly and fully contains the parties’ experts’ respective opinions in this case.
11          The Parties are mindful of the dictates of Federal Rule of Civil Procedure 37, which
12   prohibits the use at trial of any information required to be disclosed by Rule 26(a) that was not
13   properly disclosed. Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir.
14   2001). As a result, the Parties now seek to supplement their expert reports pursuant to the
15   agreement discussed below. Because this supplementation—part of which asks the Court to
16   ratify the Parties’ previous expert submissions, and part seeks to provide for two minor additional
17   submissions—would modify the Scheduling Order in this case by allowing for additional expert
18   reports, the Parties bring this request as a joint motion rather than a stipulation. The Parties
19   request the following relief:
20      1. By way of background, and for purposes of clarity, the following expert reports and
21   declaration were prepared in this matter by either Plaintiffs’ expert economist, Dr. Hal Singer, or
22   Zuffa’s expert economist, Professor Robert Topel:1
23              a. Expert Report of Hal. J. Singer, Ph.D. (dated August 31, 2017) (“SR1”) (Exhibit
24                  1 to the Declaration of Eric L. Cramer, Esq. (February 16, 2018), recorded on the
25                  public docket at ECF No. 518-3 (Feb. 16, 2018)).
26
27   1 This Motion relates solely to the expert submissions of Drs. Singer and Topel. The Parties have
     also served other expert reports in this matter as well.
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 1              b. Expert Report of Professor Robert H. Topel (dated October 27, 2017) (Exhibit
 2                  3 to the Declaration of Nicholas A. Widnell (February 16, 2018), recorded on the
 3                  public docket at ECF No. 524-5 & 528 (Feb. 16, 2018)).
 4              c. Rebuttal Expert Report of Hal. J. Singer, Ph.D. (dated January 12, 2018)
 5                  (“SR2”) (Exhibit 2 to the Declaration of Eric L. Cramer, Esq. (February 16, 2018),
 6                  recorded on the public docket at ECF No. 518-4 (Feb. 16, 2018)).
 7              d. Sur-Rebuttal Expert Report of Prof. Robert H. Topel (dated Feb. 12, 2018)
 8                  (not currently filed).
 9              e. Supplemental Expert Report of Hal. J. Singer, Ph.D. (April 3, 2018) (“SR3”)
10                  (Exhibit 49 to the Declaration of Eric L. Cramer, Esq. (April 6, 2018), recorded on
11                  the public docket at ECF No. 534-3 (Apr. 6, 2018)).
12              f. Declaration of Robert H. Topel, Ph.D. in Support of Zuffa, LLC’s Opposition
13                  to Plaintiffs’ Motion for Class Certification (April 6, 2018) (Exhibit 1 to the
14                  Declaration of Stacey K. Grigsby (April 6, 2018), recorded on the public docket at
15                  ECF No. 540-5 (Apr. 6, 2018)).
16      2. On February 12, 2018, Zuffa served Plaintiffs with a sur-rebuttal report prepared by
17   Professor Topel (item “d”), addressing issues Zuffa believes were raised for the first time in Dr.
18   Singer’s timely served rebuttal report (item “c”). Plaintiffs disagree that Dr. Singer’s rebuttal
19   report contained any improper or inappropriate rebuttal matter. In order to respond to Professor
20   Topel’s sur-rebuttal (item “d”), Dr. Singer prepared and Plaintiffs served a Supplemental Expert
21   Report with their opposition to Zuffa’s motion to exclude Dr. Singer (item “e”). For purposes of
22   compromise, Plaintiffs will not object to Zuffa’s inclusion of Professor Topel’s February 12
23   Report (item “d”) as an exhibit to Zuffa’s upcoming reply in support of its motion to exclude Dr.
24   Singer’s testimony, and, in return, Zuffa will not object to: (i) any matter in Dr. Singer’s rebuttal
25   report (item “c”) as being improper rebuttal matter or otherwise improperly or untimely raised;
26   and/or (ii) any matter in Dr. Singer’s Supplemental Report (item “e”) as improper rebuttal matter
27   or otherwise improperly untimely raised.
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 1      3. Professor Topel submitted a new declaration after the close of expert discovery as Ex. 1 to
 2   Zuffa’s class certification opposition brief (ECF No. 540) (the “Topel Declaration”) (item “f”).
 3   This was the third report or declaration prepared by Professor Topel and served on Plaintiffs in
 4   this case. Zuffa claims that the Topel Declaration (item “f”) is merely a summary and roadmap to
 5   his first report (item “b”). Without agreeing with that characterization, Plaintiffs agree not to
 6   object to the inclusion of the Topel Declaration (item “f”) as part of Zuffa’s class certification
 7   opposition, and in return, Zuffa agrees not to object to Plaintiffs’ inclusion with their upcoming
 8   class certification reply brief of a new declaration from Dr. Singer that (a) responds to the Topel
 9   Declaration, provided that Dr. Singer limits his comments and opinions to a summary of the
10   opinions in his previous reports, (b) briefly responds to the computation reported in the April 6,
11   2018 Nakamura Declaration (ECF No. 540-3) at para. 14, and (c) addresses matters discussed in
12   paragraph 5 below. Further, Zuffa will not object if Plaintiffs submit summary charts equivalent
13   to Exhibits 87-89 submitted with a declaration comparable to the Nakamura Declaration.
14      4. In response to the regression Dr. Singer discusses in his supplemental report (item “e”) on
15   page 39 (Table A2) (the “Singer Promotion Spend Regression”), Zuffa may submit, as an exhibit
16   to its upcoming reply in support of its motion to exclude Dr. Singer’s testimony, a short response
17   from Professor Topel for the sole purpose of responding to the Singer Promotion Spend
18   Regression, including through regression analysis. This Topel response will not (a) include,
19   incorporate, or analyze any data other than Dr. Singer’s regression data set from the backup files
20   to his initial report (item “a”), Zuffa cost data included in the backup data to Dr. Singer’s initial
21   report, (item “a”), and any other data or documents Dr. Singer used in the regression and included
22   in his Supplemental Report (item “e”) to identify promotional expenses, or (b) respond to,
23   discuss, or analyze any other of Dr. Singer’s regression analyses or any other of his opinions or
24   analyses. Plaintiffs will not object to the inclusion of such a limited report as an exhibit to
25   Zuffa’s reply in support of its motion to exclude Dr. Singer.
26      5. Plaintiffs may submit, as an exhibit to their reply in support of their motion for class
27   certification, as part of the Singer Response Report discussed in paragraph 3 above, a short
28   rebuttal to the Topel response (discussed in para. 4 above). This additional Singer Response may
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 1   respond to the Topel response addressed in paragraph 4, above, but will not include any new
 2   regressions. The Court may consider the Singer Response Report as part of, inter alia, the
 3   briefing and record concerning Zuffa’s motion to exclude Dr. Singer’s testimony. The parties
 4   agree that the Court may consider the class certification briefing and exhibits thereto as part of the
 5   record for purposes of the Daubert motions, and that the Daubert briefing and exhibits thereto
 6   may be considered as part of the record for purposes of the Motion for Class Certification.
 7      6. The parties agree further and respectfully request that all of the expert materials discussed
 8   herein be treated for admissibility purposes as if they had been exchanged during the Court-
 9   authorized expert discovery period.
10          In the interests of fairness in this complex antitrust class action, the Parties respectfully
11   request the Court grant their Joint Motion to Supplement Expert Reports.
12

13   Dated: May 7, 2018
14

15                                                  BOIES, SCHILLER FLEXNER LLP

16                                                  By: /s/ Nicholas A. Widnell
                                                            Nicholas A. Widnell
17                                                  Attorneys for Defendant Zuffa, LLC, d/b/a
                                                    Ultimate Fighting Championship and UFC
18

19                                                  William A. Isaacson (Pro Hac Vice)
                                                    Stacey K. Grigsby (Pro Hac Vice)
20                                                  Nicholas A. Widnell (Pro Hac Vice)
                                                    BOIES SCHILLER FLEXNER LLP
21                                                  1401 New York Avenue, NW
22                                                  Washington, DC 20005
                                                    Tel: (202) 237-2727
23                                                  Fax: (202) 237-6131
                                                    Email: wisaacson@bsfllp.com
24                                                          sgrigsby@bsfllp.com
                                                            nwidnell@bsfllp.com
25

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 1                                               BERGER & MONTAGUE, P.C.
 2                                            By: ___/s/ Eric L. Cramer
 3                                                       Eric L. Cramer
                                                 Co-Lead Counsel for the Classes and Attorneys for
 4                                               Individual and Representative Plaintiffs Cung Le,
                                                 Nathan Quarry, Jon Fitch, Luis Javier Vazquez,
 5                                               Brandon Vera and Kyle Kingsbury
 6                                               Eric L. Cramer (Pro Hac Vice)
                                                 Michael Dell’Angelo (Pro Hac Vice)
 7                                               Patrick F. Madden (Pro Hac Vice)
 8                                               Mark R. Suter(Pro Hac Vice)
                                                 BERGER & MONTAGUE, P.C.
 9                                               1622 Locust Street
                                                 Philadelphia, PA 19103
10                                               Telephone: (215) 875-3000
                                                 Facsimile: (215) 875-4604
11                                               ecramer@bm.net
                                                 mdellangelo@bm.net
12                                               pmadden@bm.net
                                                 msuter@bm.net
13

14                                    ATTESTATION OF FILER
15
            The signatories to this document are myself and Eric Cramer, and I have obtained Mr.
16
     Cramer’s concurrence to file this document on his behalf.
17

18
     Dated: May 7, 2018
19
20

21                                               By:     /s/ Nicholas A. Widnell_____________

22                                                       Nicholas A. Widnell
                                                         Attorney for Defendant Zuffa, LLC, d/b/a
23                                                       Ultimate Fighting Championship and UFC
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 1                                  CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that service of the foregoing Joint Motion to
 3   Supplement Expert Reports was served to opposing counsel on May 7, 2018 via the Court’s
 4   CM/ECF electronic filing system addressed to all parties on the e-service list.
 5

 6                                                /s/ Roderick Crawford
                                                  Roderick Crawford
 7                                                An employee of Boies Schiller Flexner LLP
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